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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR20-0111-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    ISAIAH THOMAS WILLOUGHBY,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the Government’s unopposed motion to extend its
18   deadline to respond to Defendant’s motion to dismiss counts within the indictment (Dkt. No. 51.)
19   Finding good cause, the motion is GRANTED. The Government’s response is due January 12,
20   2021. The Clerk is DIRECTED to renote Defendant’s motion (Dkt. No. 50) to January 15, 2021.
21          DATED this 30th day of December 2020.
22                                                        William M. McCool
                                                          Clerk of Court
23

24                                                        s/Paula McNabb
                                                          Deputy Clerk
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     MINUTE ORDER
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